           Case 1:06-cr-00071-JPJ Document 146 Filed 06/04/18 Page 1 of 3 Pageid#: 823
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        7C1Iac                                                                                  I
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                                         United StatesDistrictCourt                             JUN - d 2218
                                                       f                                        j
                                                        or the                                Ju     .     otzx uE
                                             W cstern DistrictofVirginia                     B.i
                       Petition forW arrantdrSum monsforOffenderUnderSuperkisiop                ;           GE

        NameofOffendcr:LisaM arieCasey                                       CaseNumber: 1:06Ck00071-001
        N am e ofsentencing JudicialOfficer: Honorable Glen M .W illiam s
        Date ofOriginalSentence: July 11, 2007
                                         .


    .   OriginalOffetue: W ire Fraud;At4em pted Bank Fraud                                      '
.
        OriginalSentence: 96monthéimptisonmenttiveyearssupewisùdreleése,$200specizlqssrssment
        TypeofSupervision: SupervisedRelease               DateSupervision Com menced: July 19,2,013
        A sst.U .S.Attom ey: JenniferBockhorst             D efense Adorney: D erm isJones



                                             PETITIONING THE COURT
        () Toissueawarrant'
        gXj Toissueasummoùs
        Theprobationofficebelieveàthattheoffenderhasviolatedthefùllowingconditionts)ofsup#rvisiotl:
        V iolation N um ber N ature ofN'
                                       oncom pliance

                 1         M andatorv Condition:î'Thede# ndantshallnotunlawhtllkpossess acontrolled
                           substance. The defendantshallre/wfnji'  ontany I/AI/JMJ-/N
                                                                                    'Juse of a,conlrolltd
                           subttance. Thedefendantshallmlbmit/J ötledrug testv'ithin 15 #J)/. çofreleqse
                           # om imprisonmentc??#atleastlu/5periodicdrug /e.ç/â'thereaher,'
                                                                                         JJdeiermined/7.'
                                                                                                        h?
                           thecourt.''
                           During a home visit on February 14j2018,the offender teàted j2oàitive.for
                           m etham phetnm ine, She ihitially denied this unlaw ful use, but upon futther
                           Questioning sheadmitted to smokingmethamphètamitzeon oraboutFbbruary 13,
                           2018.                                                                 1
                                                                                                 :
                                                                                                 1

                 ;         M andatorv Condition: 6'The & #p#J?7/shall,7//ttnlawfùlly#fM.   $'
                                                                                            e.&.Vq1controlled
                                                             .

                           substance. The defendant. 5'JIJ# refbainX(J?z?any lfn/lw-/ik/ use of J1controlltd
                           substance. The defendantshallsubmittotmèdrug testwithin 15 dayqO/rc/erlx        ve
                           ji'om imprisonmentandat/tdJ.V/rw'öperiödicdrug/eS/,Vthereaher,JJdeterntinedby
                           /7?t4()tp???-/.''                                                 l
                           O n July 21,2017,while presentforthe A bingdon,V irginia.
                                                                                   FederalRe-Entry Court
                           Program,theoffenderwasaskedtoprovide aurinedmgscreen. Thki
                                                                                    l
                                                                                     creeilfield
                           tested positive for Oxy.                                              '
                                                                                                 .



                 ;         Standard Condition#3:''ThedefendantshallJaâvwt?rtruthfullyJ# inqiliresby the
                           probationox t'
                                        erandfollow the/N.V/rNc/D#l,
                                                                   VoftheArt/il///?7os cer.''
                            Afterapositive urinescreen on July 21,2017,M s.Casey stated thatshe had been
                            adm inistered eithera Lortab orPçrcocetduring am edicalprocedvre she had sevçral
                                                                                                 .




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   Case 1:06-cr-00071-JPJ Document 146 Filed 06/04/18 Page 2 of 3 Pageid#:
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                                                                                                       u'z
                                           -   2-          Petition forW arrantorSumm'
                                                                                     ions               .
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                                                            ForOffenderUnderSuperviyion




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                  d                                                                      :
                   ayspriorand thatshe could provide documentatîon tp USPO Riley.On July 24j
                  2017,Ms.CaseyadmittedtoUSPO Rileythatshecouldnotprovidedoéumentatibn
                  forthe pain medication she took,because she obtained an Oxyclntin tablet
                  illegally.                                                  !
                                                                                         :

       4          MahdâtoryCondition:''Fhedefendantshalltlotc/z/llni/ahotherfedelal,stateor
                  localcrili,e.''
                  On October16,2017,M s.Casey wascharged with Give Coniicting Trstimnny by
                  Dickenson County SherifpsOffice. Thiscaseispending in the Diokenson County
                  Virginia CircuitCourtforAugust10,2018.


       5          SpecialCbndition:'tl'hedefendantshallparticèateintheFederal'c-fn
                                                                                 ; /r.pCourt
                  Program in the UhitedStatesDistrîctCourtinAbingdon,P'frg/n/c,andfollow al1
                  requirementsoftheprogram.''
                  M s.Casey filed to complete the Abingdo'  n,Virginia Federal Re-Elltry Court
                  Program afterbeing unsuccessfullydischargqd from theprogrgm otlM ayi 3,-20t8.
                                                                                             .




U.S.Probation Om cerRecommendation:

      Theterm ofsupetvisionsholtldbe:

             (X1 Revoked
             E) Extendedfor yearts),foratotalterm of years.
      The conditionsofsupervision should be m odified asfollow s:



                              1declareunderpenaltyofpeljurythattheforegoingistrueandcorrect.
                                                    Executed '
                                                             on     ,     Juhe4,2010 !
                                                                                         I




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                                                             .                           E
                                                                    J.M arcusRlley       !
                                                                 U s Probation Officer   '



Tl4E COU RT ORD ERS
     Case 1:06-cr-00071-JPJ Document 146 Filed 06/04/18 Page 3 of 3 Pageid#: 825




Probl2C                               -J
                                       q-          Petition forW arrantorSumtons
                                                    F0rOffenderUhderSupervision


( 1 NOAction
( ) TheIssuanceofaWarrant(Pdition,violationreport,andwarrantshallbeSEALED$ ti1
executionofwarrant.l
(V     ThelssumweofaSummons
E ) Other                                                                  .
                                                      Sig   re ofJudicia ffk er
                                                            zr     //?     i
                                                             ate    '
